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                         UNITED STATES DISTRICT COURT
                         MIDDLE DISTRICT OF LOUISIANA
____________________________________
                                       )
BLAIR IMANI, et al.                    )
                                       )
                    Plaintiffs,        )  Docket No. 17-cv-00439-JWD-EWD
      v.                               )
                                       )
CITY OF BATON ROUGE, et al.            )
                                       )
                    Defendants.        )
______________________________________ )

                            STATEMENT OF MATERIAL FACTS

       Pending before the Court is Plaintiff Antonio Castanon Luna and Nadia Salazar Sandi’s

Motion for Partial Summary Judgment regarding their claims of excessive force in violation of

the Fourth Amendment. In support of that Motion, Plaintiffs submit this statement of undisputed

material facts:

   1. Antonio Castanon Luna and Nadia Salazar Sandi participated in the July 10, 2016,

       protest. R. Doc. 59 at ¶ 160; Ex. A (“Declaration of Nadia Salazar Sandi”); Ex. B

       (“Declaration of Antonio Castanon Luna”).

   2. At some point during the protest, Antonio Castanon Luna and Nadia Salazar Sandi were

       present at the intersection of Government Street and Maximillian Street. R. Doc. 59 at ¶

       162; Ex. A; Ex. B.

   3. While standing on the sidewalk at the intersection of Government Street and Maximillian

       Street, Antonio Castanon Luna and Nadia Salazar Sandi were tackled by Baton Rouge

       Police Department officers. R. Doc. 59 at ¶ 164; Ex. A; Ex. B.




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4. The officers who tackled Antonio Castanon Luna and Nadia Salazar Sandi were Alan

   Hamilton, Cpl. Brandon Blust, and Ofc. James Crockett. Ex. B (“Supplemental Answers

   to Plaintiffs’ Fourth Set of Interrogatories to Chief Murphy Paul”)

5. At the time they were tackled, Mr. Luna and Ms. Sandi were not fleeing, were not

   violent, and were not aggressive. R. Doc. 59 at ¶ 163; Ex. A; Ex. B.

6. Antonio Castanon Luna and Nadia Salazar Sandi were injured as a result of being

   tackled. R. Doc. 59 at ¶ 178; Ex. A; Ex. B.

                                                 Respectfully submitted,

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